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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

S.P.S., ex rel. SHORT, et al.,
                                               CIVIL ACTION NO.
             Plaintiffs,                       1:19-CV-04960-AT

v.
BRAD RAFFENSPERGER, et al.,

             Defendants.




PLAINTIFFS’ REPLY IN SUPPORT OF THEIR SUPPLEMENTAL BRIEF
 IN SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION
   AND IN OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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                                  INTRODUCTION
       Defendants do not contest that Plaintiffs’ injuries are traceable to and

redressable by Defendants. Doc. 59 at 16. Instead, they largely focus their arguments
on Plaintiffs’ injuries in fact, but their analysis is rife with errors. They ignore crucial
differences between the allegations and record here and in Jacobson v. Florida
Secretary of State, 957 F.3d 1193 (11th Cir. 2020); they misstate and misapply the
relevant law, overreading Jacobson far beyond what is reasonable; and they
misconstrue Plaintiffs’ evidence. Defendants’ arguments regarding justiciability are

also fatally flawed. They rely upon a concurrence written by a single judge as if it is
binding and ignore decades of precedent from courts across the country adjudicating
ballot order claims, all of which demonstrate that—unlike partisan gerrymandering
claims—Plaintiffs’ claims are easily adjudicated using familiar and judicially
manageable standards. Because nothing in Jacobson bars their relief, Plaintiffs
respectfully request that the Court grant their motion for preliminary injunction,

Doc. 22, and deny Defendants’ motion to dismiss, Doc. 37.
                                     ARGUMENT

I.     Plaintiffs satisfy Article III’s injury-in-fact requirement.
       Defendants do not dispute that (1) the decision in Jacobson was rendered after
a full trial on the merits, or (2) at this preliminary stage in the proceedings, Plaintiffs
must satisfy a far lower bar of proof to survive Defendants’ standing challenge. See
Doc. 57 at 3-5. Instead, Defendants contend that Plaintiffs’ allegations are not



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sufficient to constitute an injury in fact under Jacobson. In doing so, Defendants
mis- and over-read that decision and mischaracterize Plaintiffs’ allegations and

evidence here (as well as the lens through which the Court is obligated to view it).
When properly construed, it is clear Plaintiffs have met the well-established
standards for standing repeatedly applied by courts in this circuit, as well as those
articulated specifically in Jacobson itself.1
      A.     Plaintiffs have standing based on diversion of resources.
      Defendants first assert that Jacobson requires organizational plaintiffs not

only to allege that the challenged law has caused them to divert resources, “but also
to state what those resources are being diverted away from.” Doc. 59 at 11. But
Plaintiffs have done exactly that: they have asserted (and introduced evidence) that
Georgia’s Ballot Order Statue, and the inherent advantage it gives Republican


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  Defendants are wrong to imply that the Court cannot consider the evidence in the
record, as well as the allegations in the First Amended Complaint. Defendants’
standing challenge is jurisdictional and thus arises under Rule 12(b)(1), which
Defendants admit may be evaluated by looking beyond the Complaint’s allegations.
Doc. 59 at 5; see also, e.g., Region 8 Forest Serv. Timber Purchasers Council v.
Alcock, 993 F.2d 800, 807 (11th Cir. 1993) (citing Warth v. Seldin, 422 U.S. 490,
501 (1975)). And while it is true that the Court is not precluded from weighing
contrasting evidence in evaluating standing under Rule 12(b)(1), Defendants cite
nothing that would permit the Court to credit Defendants’ bare assertions over
Plaintiffs’ evidence. In fact, even when defendants submit evidence that creates a
factual dispute on standing, it is reversible error to weigh that evidence without
holding an evidentiary hearing. Bischoff v. Osceola Cnty., Fla., 222 F.3d 874, 879
(11th Cir. 2000). In this case, Defendants have not submitted any evidence to bring
the facts presented by Plaintiffs into dispute. Defendants’ assertion that the Court
may simply reject Plaintiffs’ evidence is incorrect.
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candidates, has caused Plaintiffs to divert resources away from their activities in
other states to combat the Statute’s effects in Georgia. Doc. 57 at 11-12; Doc. 17 ¶¶

19-23; Doc. 24-5 ¶¶ 18-19; Doc. 24-6 ¶ 8; Doc. 24-7 ¶¶ 12-14; Doc. 24-2 at 5. This
is distinguishable from Jacobson, where the court found the plaintiffs never
“explained what activities [they] would divert resources away from in order to spend
additional resources on combatting the primacy effect,” even at trial. 957 F.3d at
1206.
        That Plaintiffs’ resources are diverted from activities that support their core

function of electing Democrats in other states in order to support their mission of
electing Democrats in Georgia does not negate their standing. Jacobson does not
support Defendants’ contention that a diversion injury must involve spending
resources on abnormal activities. See id. (finding simply that plaintiffs did not
identify what activities would be impaired by spending more resources due to
statute). And because Jacobson did not announce a new standard in this regard,

Defendants are stuck with the well-established precedent―from this Court on up to
the Supreme Court―finding it sufficient that a challenged law has caused plaintiffs
to divert resources away from one activity that furthers their core mission to another
that does the same. See, e.g., Crawford v. Marion Cty. Election Bd., 553 U.S. 181,
189, n.7 (2008) (affirming “Democrats ha[d] standing to challenge the validity” of a
voter identification statute when appellate court found it would cause them to “work

harder to get every last one of their supporters to the polls”); Arcia v. Fla. Sec’y of


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State, 772 F.3d 1335, 1341 (11th Cir. 2014) (finding standing where organizations
whose “missions [] include[d] voter registration and education, or encouraging and

safeguarding voter rights” “had diverted resources to address the Secretary’s
programs” limiting voter registration); see also OCA-Greater Houston v. Texas, 867
F.3d 604, 610 (5th Cir. 2017) (holding organization whose “primary mission [wa]s
voter outreach and civic education” had standing when it had to “spend extra time
and money educating its members about [] Texas [voting laws] and how to avoid
their negative effects”); Nat’l Council of La Raza v. Cegavske, 800 F.3d 1032, 1040

(9th Cir. 2015) (holding plaintiffs had standing when “[r]esources Plaintiffs put
toward registering someone who would likely have been registered by the State, had
it complied with the N[ational] V[oter] R[egistration] A[ct], [we]re resources they
would have spent on some other aspect of their organizational purpose, such as
registering voters the NVRA’s provisions do not reach”); Vote Choice, Inc. v.
DiStefano, 4 F.3d 26, 37 (1st Cir. 1993) (finding candidate showed injury-in-fact

when a public finance law had an “impact on the strategy and conduct of an office-
seeker’s political campaign”); Democratic Nat’l Comm. v. Reagan, 329 F. Supp. 3d
824, 841 (D. Ariz. 2018) (finding plaintiffs DNC, DSCC, and Arizona Democratic
Party had standing to challenge laws that required them “to retool their GOTV
strategies and divert more resources to ensure that low-efficacy voters are returning
their early mail ballots . . . [and] to educate their voters” on those laws), aff’d, 904

F.3d 686 (9th Cir. 2018), reh’g en banc granted, 911 F.3d 942 (9th Cir. 2019), rev’d


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on other grounds and remanded sub nom. Democratic Nat’l Comm. v. Hobbs, 948
F.3d 989 (9th Cir. 2020) (en banc).

      In particular, Jacobson did not (and could not) overrule the Eleventh Circuit’s
prior decisions finding the injury-in-fact requirement satisfied where organizations
involved in political activities are driven to reallocate their funding as a result of a
challenged law. See United States v. Archer, 531 F.3d 1347, 1352 (11th Cir. 2008)
(“[A] prior panel’s holding is binding on all subsequent panels unless and until it is
overruled or undermined to the point of abrogation by the Supreme Court or by this

court sitting en banc.”). In fact, Jacobson approvingly cited Florida State
Conference of the NAACP v. Browning, 522 F.3d 1153, 1163 (11th Cir. 2008),
Common Cause/Ga. v. Billups, 554 F.3d 1340, 1350 (11th Cir. 2009), and Georgia
Latino Alliance for Human Rights v. Governor of Georgia, 691 F.3d 1250, 1260
(11th Cir. 2012), making it clear that those cases not only remain good law, but
informed the Jacobson’s court’s decision on standing. As Jacobson recognized,

Browning found the injury-in-fact requirement met where plaintiffs asserted that a
challenged law diverted “resources [that] would otherwise be spent on registration
drives and election-day education and monitoring.” Jacobson, 957 F.3d at 1206
(quoting Browning, 522 F.3d at 1166). In Common Cause/Georgia, the Circuit
similarly found the requirement met where “resources would be diverted ‘from
‘getting voters to the polls’ to helping them obtain acceptable photo identification.’”

Id. (quoting Common Cause/Ga., 554 F.3d at 1350). And in Georgia Latino Alliance


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for Human Rights, the plaintiff had to “cancel[] citizenship classes to focus on”
increased inquiries about a new citizenship law to further its mission. Id. at 1206

(quotation omitted). The situation here is not materially different: because of the
Ballot Order Statute, Plaintiffs have had to divert resources from supporting the
elections of Democrats in other states to put more resources in races in Georgia, in
order to help Democrats running for office here overcome the systemic disadvantage
that they face as a direct result of the Statute. See Doc. 17 ¶¶ 19-23; Doc. 24-5 ¶¶
18-19; Doc. 24-6 ¶ 8; Doc. 24-7 ¶¶ 12-14; Doc. 24-2 at 5.

      Consistent with this long line of precedent, in Democratic Party of Georgia,
Inc. v. Crittenden, 347 F. Supp. 3d 1324 (N.D. Ga. 2018), this Court rejected the
notion that political parties must show that they have “diverted [] resources from
what they would normally be doing during an election campaign.” Id. at 1337. In a
holding entirely in line with Jacobson, this Court correctly concluded that “[t]he
Plaintiffs’ diversion of resources from preparation for the upcoming runoff elections

to assisting individuals impacted by the handling of absentee and provisional
ballots,” both of which furthered their core function of supporting Democratic
candidates, “[wa]s all the injury needed to meet the injury-in-fact requirement.” Id.
at 1337 (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982)); see also
Havens, 455 U.S. at 379 (“[C]oncrete and demonstrable injury to the organization’s
activities—with the consequent drain on the organization’s resources—constitutes

far more than simply a setback to the organization’s abstract social interests.”). So,


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too, here. Organizational Plaintiffs’ diversion of resources from their efforts to elect
Democrats in other states to their efforts to elect Democrats in Georgia is enough to

prove standing. See Doc. 57 at 11-12.

      B.     Plaintiffs have standing based on the injury the Statute poses to
             their and their candidates’ electoral prospects.
      Separate and apart from the diversion of resources theory, the political party

Plaintiffs independently satisfy the injury-in-fact requirement because they have
credibly alleged (and through the evidence submitted in support of the preliminary
injunction motion, proved) that their electoral prospects and those of their candidate

members are harmed by the Statute. See Doc. 57 at 5-11; Doc. 17 Doc. 17 ¶¶ 19-22;
Doc. 24-5 ¶¶ 20-21; Doc. 24-6 ¶ 8; Doc. 24-7 ¶ 11; Doc. 24-8 ¶¶ 8, 13, 15; Doc. 24-
2 at 5. Their injury is in no way undermined absent proof of the exact size of primacy
effects in specific upcoming races in November—especially when those elections
have not yet taken place. Jacobson says nothing about the level of specificity of
primacy effect injury a plaintiff must show at the motion to dismiss or preliminary

injunction stage. See generally 957 F.3d at 1193. Indeed, despite Defendants’ claims
to the contrary, Jacobson does not even hold that a plaintiff must prove the exact
size of the primacy effect in a specific election at the trial stage. Under Jacobson, it

is enough that a plaintiff proves that primacy effects exist in an election. See 957
F.3d at 1203 (requiring plaintiffs to show the “existence or size of the primacy effect
in any given election”) (emphasis added).


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      As noted above, Jacobson also did not overrule the Circuit’s prior decision in
Browning, which found injury sufficient for standing at the preliminary injunction

stage even when plaintiffs were unable to calculate future harm with exact specificity
pre-election. See 522 F.3d at 1163. Specifically, Browning held that plaintiff
organizations suffered an injury-in-fact sufficient to satisfy Article III at the
preliminary injunction stage based on their members’ “probabilistic injuries” in the
next election, even when they could not identify with exact precision the future error
rate under a law that required voter registration information to match existing

government database information. See id. The Court thus applied a general error rate
of “about one percent” to approximate how many of plaintiffs’ 20,000 members
would be harmed by the law “going forward” in the next election. See id. Here, too,
Plaintiffs have provided sufficient support for their injury pre-election by citing the
average primacy effect in Georgia for presidential year elections. See Doc. 57 at 13-
14.

      Plaintiffs also do not need to identify specific members who will be harmed
in the upcoming election in order to have established standing. See Doc. 57 at 6-8.
The threat that the Ballot Order Statute poses to the electoral prospects of
Democratic candidates up and down the ticket is not just an associational injury—it
is one that harms the organizational Plaintiffs directly. See Tex. Democratic Party v.
Benkiser, 459 F.3d 582, 586 (5th Cir. 2006) (holding Texas Democratic Party had

direct standing based on “harm to its election prospects”); Owen v. Mulligan, 640


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F.2d 1130, 1132–33 (9th Cir. 1981) (finding standing for Republican committee
members where they “seek to prevent their opponent from gaining an unfair

advantage in the election process”); see also LaRoque v. Holder, 650 F.3d 777, 786
(D.C. Cir. 2011) (finding standing where candidate alleged that the partisan-
elections system “injures him by providing a competitive advantage to his
Democratic opponents,” noting “we have held that such competitive injuries in the
electoral arena can confer Article III standing”); Schiaffo v. Helstoski, 492 F.2d 413,
422 (3d Cir. 1974) (“[I]t may properly be contended that the damage []allegedly

unauthorized mailings caused [a candidate’s] electoral prospects constitutes a
noneconomic harm.”). Even Defendants admit that Jacobson did not explicitly
address this basis for standing. Doc. 59 at 16. And even if the harm to Democratic
candidates is viewed as an associational injury, the Eleventh Circuit rejected
Defendants’ argument in Browning, finding that, at least at the preliminary
injunction stage, plaintiffs had associational standing even when they did not name

specific members who would be harmed in the coming election. 522 F.3d at 1160;
see also Doc. 57 at 6-8.
      In any event, Plaintiffs have identified specific candidate members who are
virtually certain to be harmed in the upcoming election. See Doc. 57 at 8-10; see,
e.g., Doc. 24-6 ¶¶ 6-7, 10; Doc. 24-7 ¶¶ 10-11; Doc. 24-2 at 5. In this way, too, this
case is distinguishable from Jacobson, in which the Eleventh Circuit found that the

plaintiffs did not identify any specific candidate members who were injured by the


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existence of primacy effects, even at trial. 957 F.3d at 1204-06; see also id. at 1206
(suggesting standing may be satisfied if “a particular candidate’s prospects in a

future election will be harmed”).
      C.     The individual voter Plaintiffs have standing.
      Finally, although the Court need only find one plaintiff has standing for this
matter to proceed (and to grant the Plaintiffs’ preliminary injunction), individual
voter Plaintiffs S.P.S., Natalie Short, Edwin Prior, and Angie Jones also have
standing. Defendants’ contention that the voter Plaintiffs’ asserted injury is nothing

more than a “legal conclusion,” Doc. 59 at 8, misunderstands Plaintiffs’ allegations.
The voter Plaintiffs allege that their First Amendment right to vote and associate
with others to advance their political interests is harmed by the head start the Ballot
Order Statute gives to the opponents of the candidates they support. See Doc. 17 ¶¶
15-18; Doc. 24-9 ¶ 3; Doc. 24-11 ¶ 3; Doc. 24-12 ¶ 3. This is a cognizable burden
on and injury to these voters that flows from the Supreme Court’s decision in

Anderson itself. Anderson v. Celebrezze, 460 U.S. 780, 788, 806 (1983) (noting each
provision of a state’s election code “inevitably effects―at least to some degree―the
individual’s right to vote and his right to associate with others for political ends,”
and the Court’s “primary concern” is “the interests of the voters who chose to
associate together to express their support” for candidates and their views); see also
Bullock v. Carter, 405 U.S. 134, 143 (1972) (“[T]he rights of voters and the rights

of candidates do not lend themselves to neat separation; laws that affect candidates


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 always have at least some theoretical, correlative effect on voters.”); McLain v.
 Meier, 851 F.2d 1045, 1048 (8th Cir. 1988) (relying on Anderson in finding that

 candidate had standing to challenge North Dakota ballot order law due to his “injury
 as a voter”); Doc. 17 ¶¶ 15-18; Doc. 24-9 ¶ 3; Doc. 24-11 ¶ 3; Doc. 24-12 ¶ 3.
       As with the organizational Plaintiffs, the voter Plaintiffs need not prove the
 exact primacy effect advantage that Republican candidates will receive in each of
 the upcoming 2020 races in order to establish standing, especially at this pre-election
 preliminary injunction stage. See Section B, supra; see also Browning, 522 F.3d at

 1163. Thus, although the Court need not reach the question because the
 organizational Plaintiffs so clearly have standing, the individual voter Plaintiffs also
 have standing.
II.    This case is justiciable.
       Defendants urge the Court to do what the other two judges on the panel in
 Jacobson would not, and adopt the reasoning of Judge William Pryor’s concurrence

 regarding the effect of Rucho v. Common Cause, 139 S. Ct. 2484 (2019), on the
 justiciability of ballot order claims. A concurrence written by a single circuit court
 judge has no precedential value.
       But that fundamental problem aside, finding that this case presents a
 nonjusticiable political question would go against fifty years of precedent in which
 courts have ably adjudicated ballot order claims, first under traditional equal

 protection principles and, for the last few decades, under the Anderson-Burdick test.


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Even the Supreme Court has passed on a ballot order challenge, summarily affirming
an injunction of a scheme that awarded first position to a certain category of

incumbents. See Mann v. Powell, 314 F. Supp. 677, 678-79 (N.D. Ill. 1969), aff’d
398 U.S. 955 (1970). The appellants in that case made the argument that the case
raised a non-justiciable political question, but the Supreme Court clearly disagreed.2
      Nor is Mann the only decision to adjudicate a challenge to a ballot order
statute—far from it. Multiple federal and state courts have successfully done the
same, applying the familiar standards discussed above—including those in which

plaintiffs successfully argued that statutes automatically elevating candidates from
a particular political party to first position were unconstitutional. See McLain v.
Meier, 637 F.2d 1159, 1167 (8th Cir. 1980) (finding state’s “favoritism” of political
party that received the most votes in last congressional election unconstitutional);
Sangmeister v. Woodard, 565 F.2d 460, 468 (7th Cir. 1977) (“This court will not
accept a procedure that invariably awards the first position on the ballot to . . . the

incumbent’s party . . . or the ‘majority’ party”); Graves v. McElderry, 946 F. Supp.
1569, 1582 (W.D. Okla. 1996) (finding unconstitutional ballot order statute that

2
  See Powell v. Mann, Appellants’ Jurisdictional Statement, No. 1359, 1970 WL
155703, at *5-6 (U.S., Mar. 27, 1970) (asserting among “questions presented” for
Court’s review: “(1) Does the complaint state a claim within the judicial Power of
the United States; or, the judicial power generally? . . . (5) Does the ‘political
question doctrine’ . . . permit federal judicial cognizance of political cases, involving
inter- or intra-party election disputes?”); see also id. at *21 (arguing Court should
find lower court lacked jurisdiction due to “[t]he lack of predeterminable federal
standards, based on some neutral principle [which are] too subjective to allow
federal courts in the antagonistic climate of pre-election politics”).
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required Democrats always be listed first on ballot); see also Netsch v. Lewis, 344
F. Supp. 1280, 1281 (N.D. Ill. 1972) (holding statute prescribing ballot order by past

electoral success violated equal protection); Holtzman v. Power, 313 N.Y.S.2d 904,
908 (N.Y. Sup. Ct. 1970), aff’d, 311 N.Y.S.2d 824 (1970) (finding no rational basis
for “favoritism to a candidate merely on the basis of his having been successful at a
prior election”); Kautenburger v. Jackson, 333 P.2d 293, 294 (Ariz. 1958) (affirming
judgment declaring ballot-order statute unconstitutional and “directing the names of
candidates be rotated . . . in the most practicable and fair way possible”); Gould v.

Grubb, 536 P.2d 1337, 1338-39 (Cal. 1975) (striking down incumbent-first statute);
Akins v. Sec’y of State, 904 A.2d 702, 708 (N.H. 2006) (holding unconstitutional
statute requiring that party receiving most votes in last election be listed first).
Simply put, this is a case that is easily resolved using familiar judicially manageable
standards.
      Compare this history with that in the partisan gerrymandering context, in

which the Court had never “stuck down a districting plan as an unconstitutional
partisan gerrymander, and ha[d] struggled without success over the past several
decades to discern judicially manageable standards for deciding such claims.”
Rucho, 139 S. Ct. at 2491. In Rucho, the Court held that it was finally giving up on
this long-running search for a standard. See id. at 2508. Moreover, it could not have
been clearer that non-justiciability is the exception, not the rule, noting that the

unique issues involved in partisan gerrymandering present the “rare circumstance”


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in which “the absence of a constitutional directive or legal standard[]” to guide the
courts rendered the claims non-justiciable. Id. As the raft of cases discussed above

illustrate, ballot order challenges do not present a similar “rare circumstance.”
      Defendants place significant weight on the Jacobson majority’s citation to
Gill v. Whitford, 138 S. Ct. 1916 (2018), in arguing that this case presents a
nonjusticiable question, see Doc. 59 at 17-19, but neither the connection nor the
relevance is clear. Yes, the Jacobson majority cited to Gill in discussing standing,
and Rucho also cited to Gill (because Gill, like Rucho, involved questions of partisan

gerrymandering). But the fact that both cited to Gill does not mean that the Court
should read the Jacobson majority to have somehow implicitly joined Judge Pryor’s
concurrence on the justiciability issue. If the Jacobson majority wanted to rely on
Rucho to hold ballot order a nonjusticiable political question, it would have done so
explicitly rather than in this convoluted and utterly obtuse fashion. Cf. Main Drug,
Inc. v. Aetna U.S. Healthcare, Inc., 475 F.3d 1228, 1231 (11th Cir. 2007) (“[I]t is

well-established circuit law that we are not bound by a prior decision’s sub silentio
treatment of a jurisdictional question.”) (quotation marks and citation omitted).
      But Defendants also misstate why Gill was cited in both cases. They claim
that both the Jacobson majority and the Rucho court relied on Gill for the assertion
that the judiciary is not responsible for vindicating partisan preferences, Doc. 59 at
18-19, but Jacobson did nothing of the sort. It merely cited to Gill for the proposition

that the partisan preferences of the Jacobson voter plaintiffs, standing alone, were


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not a sufficient injury for Article III standing. See Jacobson, 957 F.3d at 1204. This
is a far cry from Defendants’ assertion, which appears to be that both Jacobson and

Rucho stand for the proposition that “the judiciary is ill-equipped to vindicate”
challenges to any law which “implicates questions of partisan preference.” Doc. 59
at 19. While this position was adopted by a single judge in concurrence, the Jacobson
majority said no such thing. Defendants’ attempt to forge a connection here falls
apart on even cursory scrutiny.
      In sum, Rucho has no applicability to the issues before this Court, and the

claims here do not present a nonjusticiable political question. Rather, Anderson-
Burdick provides the Court a straightforward roadmap to consider the issues
presented here and to rule in Plaintiffs’ favor.
                                   CONCLUSION
      For the above reasons, as well as those set forth in previous briefing, Plaintiffs
respectfully submit that the Eleventh Circuit’s opinion in Jacobson is entirely

distinguishable from this case.


 Dated: June 12, 2020                       Respectfully submitted,

                                            Adam M. Sparks
                                            Halsey G. Knapp, Jr.
                                            Georgia Bar No. 425320
                                            Adam M. Sparks
                                            Georgia Bar No. 341578
                                            KREVOLIN & HORST, LLC
                                            One Atlantic Center
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                               1201 W. Peachtree St., NW, Suite 3250
                               Atlanta, GA 30309
                               Telephone: (404) 888-9700
                               Facsimile: (404) 888-9577
                               hknapp@khlawfirm.com
                               sparks@khlawfirm.com

                               Marc E. Elias*
                               Elisabeth C. Frost*
                               Jacki L. Anderson*
                               Zachary J. Newkirk*
                               PERKINS COIE LLP
                               700 Thirteenth St., N.W., Suite 600
                               Washington, D.C. 20005-3960
                               Telephone: (202) 654-6200
                               Facsimile: (202) 654-9959
                               melias@perkinscoie.com
                               efrost@perkinscoie.com
                               jackianderson@perkinscoie.com
                               znewkirk@perkinscoie.com

                               Abha Khanna*
                               PERKINS COIE LLP
                               1201 Third Avenue, Suite 4900
                               Seattle, WA 98101-3099
                               Telephone: (206) 359-8000
                               Facsimile: (206) 359-9000
                               akhanna@perkinscoie.com

                               Counsel for Plaintiffs
                               *Admitted Pro Hac Vice




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                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing has been prepared in accordance with the

font type and margin requirements of L.R. 5.1, using font type of Times New
Roman and a point size of 14.
Dated: June 12, 2020
                                            Adam M. Sparks
                                            Counsel for Plaintiffs
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                          CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on June 12, 2020, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send a

notice of electronic filing to all counsel of record.
Dated: June 12, 2020
                                                Adam M. Sparks
                                                Counsel for Plaintiffs
